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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                                   Case No. 21-cr-691 (TSC)
    v.

 CHRISTIAN MATTHEW MANLEY,

      Defendant.


                   GOVERNMENT’S NOTICE OF FILING OF EXHIBITS
                      PURUSANT TO LOCAL CRIMINAL RULE 49

         The United States of America, through the undersigned, hereby gives this notice pursuant

to Local Criminal Rule 49, of the following exhibits that were provided to the Court and defense

counsel on April 17, 2023 via USAfx, in relation to the upcoming sentencing hearing. These

exhibits will be offered into evidence during the sentencing hearing scheduled for April 25, 2023.

Because the exhibits are video clips, they are not in a format that readily permits electronic filing

on CM/ECF.

         The proposed exhibits are as follows:

         1.     Government Exhibit 1 is a United States Capitol Police CCV clip. The clip is

approximately 3 minutes 30 seconds. The events depicted in in the exhibit occurred at

approximately 2:45 p.m. EST on January 6, 2021.

         2.     Government Exhibit 2 is an open source video. The clip is approximately :04

seconds. The events depicted in the exhibit occurred at approximately 2:52 p.m. EST on January

6, 2021.
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       3.      Government Exhibit 3 is a United States Capitol Police CCV clip. The clip is

approximately 7 minutes 18 seconds. The events depicted in in the exhibit occurred at

approximately 2:53 p.m. EST on January 6, 2021.

       4.      Government Exhibit 4 is an open source video. The clip is approximately 1 minute

9 seconds. The events depicted in the exhibit occurred at approximately 2:53 p.m. EST on January

6, 2021.

       5.      Government Exhibit 5 is an open source video. The clip is approximately :40

seconds. The events depicted in the exhibit occurred at approximately 2:55 p.m. EST on January

6, 2021.

       6.      Government Exhibit 6 is an open source video. The clip is approximately 6 minutes

30 seconds. The events depicted in the exhibit occurred at approximately 2:53 p.m. EST on January

6, 2021.

       7.      Government Exhibit 7 is an open source video. The clip is approximately :29

seconds. The events depicted in the exhibit occurred at approximately 2:59 p.m. EST on January

6, 2021.




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       If the Court accepts these proposed exhibits into evidence on June 25, 2021, the United

States takes the position that the entered exhibits should be promptly released to the public.

                                              Respectfully submitted,

                                              Matthew M. Graves
                                              United States Attorney
                                              D.C. Bar No. 481052


                                      By:     /s/ Zachary Phillips
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